      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 1 of 21 PageID #:1




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 MARIA TAPIA-RENDON, individually and
 on behalf of all others similarly situated,
                                                   Case No. 1:21-cv-3400
        Plaintiff,

                      v.

 EMPLOYER SOLUTIONS STAFFING
 GROUP II, LLC; UNITED TAPE &
 FINISHING CO., INC.; and
 EASYWORKFORCE SOFTWARE, LLC,

        Defendants.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Maria Tapia-Rendon, individually and on behalf of all others similarly situated,

brings this Class Action Complaint and Demand for Jury Trial against Defendants Employer

Solutions Staffing Group II, LLC (“ESSG”); United Tape & Finishing Co., Inc. (“United Tape”);

and EasyWorkforce Software, Inc. (“EasyWorkforce”). Plaintiff alleges the following based upon

personal knowledge as to Plaintiff’s own experiences, and as to all other matters upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

                                    NATURE OF THE CASE

       1.      This class action alleges violations of the Biometric Information Privacy Act, 740

ILCS 14/1–99 (“BIPA”), and common-law claims for negligence and intrusion upon seclusion.

       2.      Since 2008, BIPA has imposed a notice-and-consent requirement on companies

possessing biometric data like fingerprints, voiceprints, and faceprints.
      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 2 of 21 PageID #:2




        3.      Defendants collected and disclosed Plaintiff’s biometrics without proper notice

and consent. Accordingly, Plaintiff seeks statutory damages as authorized by BIPA, in addition to

emotional distress damages and punitive damages for her common law claims.

                                              PARTIES

        4.      Plaintiff is a citizen of Illinois and a resident of Bolingbrook, Illinois.

        5.      ESSG is a Minnesota limited liability company headquartered in Eden Prairie,

Minnesota. On information and belief, none of ESSG’s members are Illinois citizens.

        6.      United Tape is an Illinois corporation headquartered in Bolingbrook, Illinois.

        7.      EasyWorkforce is a Delaware limited liability company headquartered in

Miramar, Florida. On information and belief, none of EasyWorkforce’s members are Illinois

citizens.

                                  JURISDICTION AND VENUE

        8.      This Court has subject matter has subject-matter jurisdiction under 28 U.S.C.

§ 1332(d)(2) because this is a class action in which two defendants are citizens of states different

than class members, and because the amount in controversy exceeds $5,000,000.00.

        9.      This Court has personal jurisdiction over ESSG because it is registered to do, and

does, business in this State. That business included employing Plaintiff, placing her at United

Tape for work, and collecting her biometrics from Illinois.

        10.     This Court has personal jurisdiction over United Tape because it is headquartered

and incorporated in Illinois.

        11.     This Court has personal jurisdiction over EasyWorkforce because is conducts

substantial business in this State, including knowingly selling the biometric devices at issue for

use in this State, and capturing Plaintiff’s biometrics in this State.




                                                   2
      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 3 of 21 PageID #:3




       12.     Venue is proper in this Court under 28 U.S.C. § 1391 because Plaintiff resides in

Will County, which is within this District; because Plaintiff had her biometrics unlawfully

collected from DuPage County, which is within this District; and because this lawsuit arises out

of Defendants’ conduct in DuPage County, which is within this District.

                                  FACTUAL BACKGROUND

       13.     ESSG is a staffing agency.

       14.     United Tape is a manufacturer, and a client of ESSG’s. ESSG provides temporary

employees to work at United Tape’s Woodridge, Illinois facility.

       15.     EasyWorkforce develops and sells workplace software and equipment, including

biometric timeclocks.

       16.     One such biometric timeclock is the Xenio 200 Smart Fingerprint Time Clock

(“Xenio 200”). The Xenio 200 uses an optical fingerprint sensor allowing workers to clock in

and out of shifts and breaks with their fingerprints.

       17.     The first time a worker uses the Xenio 200, they have to set up a profile by

placing their finger on the scanner. EasyWorkforce’s software scans the person’s fingerprint and

maps the geometry of the print. The worker must then scan the same fingerprint twice more, to

allow EasyWorkforce’s software captures a reference template: a mathematical representation of

the fingerprint that can be stored and used for comparison against scanned fingerprints.

       18.     Each time a worker subsequently uses the Xenio 200, EasyWorkforce’s software

compares the scanned fingerprint against a database of reference templates to identify the

individual using the scanner.

       19.     The Xenio 200 is internet-connected, and EasyWorkforce’s software allows

workers to view information about their shifts, employers to collect information from workers at




                                                  3
      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 4 of 21 PageID #:4




clock in/out, employers to deliver messages to workers, and EasySoftware to access the data

collected through the Xenio 200.

       20.     United Tape and ESSG used Xenio 200 biometric timeclocks to track employee

hours at United Tape’s Woodridge, Illinois facility.

       21.     Plaintiff was employed by ESSG and staffed at United Tape’s Woodridge facility.

       22.     ESSG and United Tape required hourly workers at the Woodridge facility,

including Plaintiff, to clock in and out of shifts and breaks with the Xenio 200 biometric

timeclock.

       23.     The Xenio 200 was connected to EasyWorkforce’s timekeeping software and to

ESSG’s and United Tape’s payroll systems (collectively the “Biometric System”).

       24.     ESSG and United Tape did not explain the Biometric System to their workers,

including Plaintiff.

       25.     EasyWorkforce did not explain its biometric timeclocks’ functionality to the

workers using them, including Plaintiff.

       26.     ESSG and United Tape did not tell their workers, including Plaintiff, how they

used data collected through the Biometric System.

       27.     EasyWorkforce did not tell workers using its biometric timeclocks, including

Plaintiff, how it used data collected through them.

       28.      ESSG and United Tape did not tell their workers, including Plaintiff, how long

they kept the data collected through the Biometric System.

       29.     EasyWorkforce did not tell workers using its biometric timeclocks, including

Plaintiff, how long it kept data collected through its biometric timeclocks.




                                                 4
       Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 5 of 21 PageID #:5




        30.      ESSG’s and United Tape’s workers, including Plaintiff, did not consent to ESSG’s

and United Tape’s collection of their fingerprints or the identifying data derived from them.

        31.      Workers using EasyWorkforce’s biometric timeclocks, including Plaintiff, did not

consent to EasyWorkforce’s capture and collection of their fingerprints or the identifying data

derived from them.

        32.      Defendants’ misappropriation and misuse of her biometrics—and their

accompanying failure to publicly explain how and when they destroy biometrics in their

possession—have caused Plaintiff mental anguish and related bodily injury. Plaintiff worries and

feels mental anguish about what Defendants will do with her biometrics, what will happen to her

biometrics if any Defendants go bankrupt, whether Defendants will ever permanently destroy her

biometrics, and whether and to whom each Defendant shares her biometrics.

        33.      BIPA has been the law of the State of Illinois since 2008.

        34.      At the beginning of the class period, June 24, 2016, BIPA had been in effect for

eight years.

        35.      By the beginning of the class period, BIPA had also been in the news for some

time. Facebook had been sued for BIPA violations over a year earlier,1 and the case had already

resulted in headline-generating rulings.2 Google and Shutterfly had likewise found themselves in

the news for alleged BIPA violations.3


        1
         See Tony Briscoe, Suit: Facebook facial recognition technology violates Illinois privacy laws, Chicago
Tribune (Apr. 1, 2015), https://www.chicagotribune.com/news/breaking/ct-facebook-facial-recognition-lawsuit-met-
story.html.
        2
         Russell Brandom, Lawsuit challenging Facebook’s facial recognition system moves forward, The Verge
(May 5, 2016), https://www.theverge.com/2016/5/5/11605068/facebook-photo-tagging-lawsuit-biometric-privacy;.
        3
         Christopher Zara, Google Gets Sued Over Face Recognition, Joining Facebook And Shutterfly In Battle
Over Biometric Privacy In Illinois, International Business Times (Mar. 4, 2016), https://www.ibtimes.com/google-
gets-sued-over-face-recognition-joining-facebook-shutterfly-battle-over-2330278.



                                                        5
         Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 6 of 21 PageID #:6




          36.   Throughout the class period, then, BIPA was well known, and its obligations

clear.

                                     CLASS ALLEGATIONS

          37.   Plaintiff brings this action on behalf of the following classes of similarly situated

individuals:

                ESSG Class: All individuals who used a biometric timeclock in the
                State of Illinois in the course of employment by ESSG on or after
                June 24, 2016.

                United Tape Class: All individuals who used a biometric timeclock
                while working at any United Tape facility in the State of Illinois on
                or after June 24, 2016.

                EasyWorkforce Class: All individuals who used any
                EasyWorkforce biometric timeclock in the State of Illinois on or
                after June 24, 2016.

          38.   Excluded from the Classes are any members of the judiciary assigned to preside

over this matter, any officer or director of Defendant, counsel for the Parties, and any immediate

family member of any of the same.

          39.   Upon information and belief, the Classes contains scores, if not hundreds, of

individuals. The Classes are therefore so numerous that joinder of all members is impracticable.

The precise number of Class members can be determined by reference to Defendants’ records.

          40.   Plaintiff’s claims are typical of the proposed Classes’. Plaintiff’s claims have the

same factual and legal bases as the proposed Class members’, and Defendants’ conduct has

resulted in identical injuries to Plaintiff and the other members of the Classes.

          41.   Common questions of law and fact will predominate over any individualized

inquiries. Those common questions include:

                a.     Whether Defendants collected the Classes’ biometric identifiers or
                       biometric information;



                                                  6
      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 7 of 21 PageID #:7




                b.       Whether Defendants disclosed the Classes’ biometric identifiers or
                         information;

                c.       Whether Defendants published written policies establishing retention
                         schedules and biometric-destruction guidelines;

                d.       Whether Defendants obtained written releases prior to collecting the
                         Classes’ biometrics;

                e.       Whether Defendants informed the Classes, in writing, of the purposes and
                         duration for which their biometrics would be collected and stored;

                f.       Whether Defendants obtained the Classes’ consent prior to disclosing their
                         biometrics;

                g.       Whether Defendants are liable for $5,000 or only $1,000 per BIPA
                         violation;

                h.       Whether Defendants’ conduct was negligent;

                i.       Whether Defendants’ conduct constituted intrusion upon seclusion; and

                j.       Whether punitive damages are warranted against Defendants.

        42.     Absent a class action, most Class members would find their claims prohibitively

expensive to bring individually, and would be left without an adequate remedy. Class treatment

of the common questions is also superior because it conserves the Court’s and Parties’ resources

and promotes efficiency and consistency of adjudication.

        43.     Plaintiff will adequately represent the Classes. Plaintiff has retained counsel

experienced in biometric class actions. Plaintiff and Plaintiff’s counsel are committed to

vigorously litigating this action on the Classes’ behalf and have the resources to do so. Neither

Plaintiff nor Plaintiff’s counsel have any interest adverse to the Classes.

        44.     Defendants have acted on grounds generally applicable to Plaintiff and the

Classes, requiring the Court’s imposition of uniform relief, including injunctive and declaratory

relief to the Classes.




                                                  7
      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 8 of 21 PageID #:8




                                          COUNT 1
                                 Violation of 740 ILCS 14/15
                        Against ESSG, by Plaintiff and the ESSG Class

         45.   Plaintiff incorporates the foregoing allegations as if fully set forth herein.

         46.   ESSG is a limited liability company and is therefore a private entity. 740 ICLS

14/10.

         47.   By collecting Plaintiff’s and the ESSG Class’s fingerprints through the Biometric

System, ESSG collected Plaintiff’s and the ESSG Class’s biometric identifiers. 740 ILCS 14/10.

         48.   By capturing and maintaining reference templates and associated timekeeping

information, ESSG collected Plaintiff’s and the ESSG Class’s biometric information. 740 ILCS

14/10.

         49.   By sharing the Biometric System’s data with EasyWorkforce, ESSG disclosed

Plaintiff’s and the ESSG Class’s biometric identifiers and information.

         50.   Prior to collecting Plaintiff’s and the ESSG Class’s biometric identifiers and

information, ESSG did not inform Plaintiff and the ESSG Class in writing that their biometrics

were being collected, stored, and used. 740 ILCS 14/15(b)(1).

         51.   Prior to collecting Plaintiff’s and the ESSG Class’s biometric identifiers and

information, ESSG did not inform Plaintiff and the ESSG Class of the specific purpose for which

their biometrics were being collected, stored, and used. 740 ILCS 14/15(b)(2).

         52.   Prior to collecting Plaintiff’s and the ESSG Class’s biometric identifiers and

information, ESSG did not inform Plaintiff and the ESSG Class of the length of time that their

biometrics would be maintained. 740 ILCS 14/15(b)(2).

         53.   Prior to collecting Plaintiff’s and the ESSG Class’s biometric identifiers and

information, ESSG did not obtain a written release authorizing such collection. 740 ILCS

14/15(b)(3).


                                                  8
      Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 9 of 21 PageID #:9




       54.     Prior to disclosing Plaintiff’s and the ESSG Class’s biometric identifiers and

information, ESSG did not obtain Plaintiff’s and the ESSG Class’s informed consent. 740 ILCS

14/15(d)(1).

       55.     While ESSG was in possession of Plaintiff’s and the ESSG Class’s biometric

identifiers and information, ESSG failed to provide a publicly available retention schedule

detailing the length of time it would maintain Plaintiff’s and the ESSG Class’s biometrics and

guidelines for permanently destroying the same. 740 ILCS 14/15(a).

       56.     Accordingly, individually and on behalf of the ESSG Class, Plaintiff respectfully

seeks an order: (a) declaring that ESSG’s actions as set forth herein violate BIPA; (b) awarding

injunctive and equitable relief as necessary to protect the ESSG Class; (c) finding ESSG’s

conduct intentional or reckless and awarding $5,000 in damages per violation, per ESSG Class

member, as authorized by 740 ILCS 14/20(2); (d) awarding Plaintiff and the ESSG Class their

reasonable attorneys’ fees, costs, and other litigation expenses under 740 ILCS 14/20(3); (e)

awarding Plaintiff and the ESSG Class pre- and post-judgment interest; and (f) awarding such

other and further relief as the Court deems equitable and just.

                                         COUNT 2
                                         Negligence
                        Against ESSG, by Plaintiff and the ESSG Class

       57.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       58.     By capturing and collecting Plaintiff’s and the ESSG Class’s biometrics, ESSG

assumed a duty of reasonable care toward Plaintiff and the ESSG Class. That duty required

ESSG to exercise reasonable care in the capture, collection, use, and maintenance of Plaintiff’s

and the ESSG Class’s biometrics.

       59.     Specifically, its duty of reasonable care obligated ESSG to capture, collection,

use, and maintain Plaintiff’s and the ESSG Class’s biometrics in compliance with BIPA.


                                                  9
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 10 of 21 PageID #:10




       60.     Because ESSG employed Plaintiff and the ESSG Class members, it owed them a

heightened duty of care, requiring ESSG to act carefully and not put Plaintiff and the ESSG

Class at undue risk of harm.

       61.     ESSG breached its duties to Plaintiff and the ESSG Class by failing to implement

reasonable procedural safeguards for the capture, collection, use, and maintenance of Plaintiff’s

and the ESSG Class’s biometric identifiers and biometric information.

       62.     Specifically, ESSG breached its duties to Plaintiff and the ESSG Class by failing

to inform them in writing that their biometrics were being captured, collected, stored, and used;

inform them in writing of the specific purpose for which their biometrics were being collected,

stored, and used; inform them of the length of time that their biometrics would be maintained;

and obtain a written release authorizing collection of their biometrics.

       63.     ESSG further breached its duties to Plaintiff and the ESSG Class by failing to

provide a publicly available retention schedule and guidelines for permanently destroying their

biometrics.

       64.     ESSG’s breach of its duties to Plaintiff and the ESSG Class has directly caused

and continues to cause Plaintiff mental anguish and injury. Plaintiff worries and feels mental

anguish about what ESSG will do with her biometrics, what will happen to her biometrics if

ESSG goes bankrupt, whether ESSG will ever permanently destroy her biometrics, and whether

and to whom ESSG shares her biometrics.

       65.     Accordingly, individually and on behalf of the ESSG Class, Plaintiff respectfully

seeks an order: (a) declaring ESSG’s conduct negligent; (b) awarding damages in an amount to

be proven at trial; (c) awarding punitive damages; (d) awarding pre- and post-judgment interest;

and (e) awarding such other and further relief as the Court deems equitable and just.




                                                 10
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 11 of 21 PageID #:11




                                          COUNT 3
                                  Intrusion Upon Seclusion
                        Against ESSG, by Plaintiff and the ESSG Class

       66.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       67.     By intentionally using biometric-scanning devices to capture and collect

Plaintiff’s and the ESSG Class’s fingerprints and then extracting from those fingerprints uniquely

identifying reference templates, ESSG intentionally and unlawfully intruded upon Plaintiff’s and

the ESSG Class’s private affairs and concerns.

       68.     Plaintiff and the ESSG Class members held a reasonable expectation that their

biometric identifiers and information would not be captured, collected, stored, or used by their

employer, and that any entity capturing, collecting, storing, or using their biometrics would do so

only with their informed consent.

       69.     A reasonable person would find it highly offensive and objectionable that their

employer would intrude upon their seclusion by capturing and maintaining their biometrics

without informed consent.

       70.     ESSG’s intrusion upon Plaintiff’s and the ESSG Class’s seclusion has directly

caused and continues to cause Plaintiff mental anguish and injury. Plaintiff worries and feels

mental anguish about what ESSG will do with her biometrics, what will happen to her biometrics

if ESSG goes bankrupt, whether ESSG will ever permanently destroy her biometrics, and

whether and to whom ESSG shares her biometrics.

       71.     Accordingly, individually and on behalf of the ESSG Class, Plaintiff respectfully

seeks an order: (a) declaring ESSG’s conduct to be intrusion upon seclusion; (b) awarding

damages in an amount to be proven at trial; (c) awarding punitive damages; (d) awarding pre-

and post-judgment interest; and (e) awarding such other and further relief as the Court deems

equitable and just.


                                                 11
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 12 of 21 PageID #:12




                                          COUNT 4
                                 Violation of 740 ILCS 14/15
                  Against United Tape, by Plaintiff and the United Tape Class

       72.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       73.     United Tape is a corporation and is therefore a private entity. 740 ICLS 14/10.

       74.     By collecting Plaintiff’s and the United Tape Class’s fingerprints through the

Biometric System, United Tape collected Plaintiff’s and the United Tape Class’s biometric

identifiers. 740 ILCS 14/10.

       75.     By capturing and maintaining reference templates and associated timekeeping

information, United Tape collected Plaintiff’s and the United Tape Class’s biometric information.

740 ILCS 14/10.

       76.     By sharing the Biometric System’s data with EasyWorkforce, United Tape

disclosed Plaintiff’s and the United Tape Class’s biometric identifiers and information.

       77.     Prior to collecting Plaintiff’s and the United Tape Class’s biometric identifiers and

information, United Tape did not inform Plaintiff and the United Tape Class in writing that their

biometrics were being collected, stored, and used. 740 ILCS 14/15(b)(1).

       78.     Prior to collecting Plaintiff’s and the United Tape Class’s biometric identifiers and

information, United Tape did not inform Plaintiff and the United Tape Class of the specific

purpose for which their biometrics were being collected, stored, and used. 740 ILCS 14/15(b)(2).

       79.     Prior to collecting Plaintiff’s and the United Tape Class’s biometric identifiers and

information, United Tape did not inform Plaintiff and the United Tape Class of the length of time

that their biometrics would be maintained. 740 ILCS 14/15(b)(2).

       80.     Prior to collecting Plaintiff’s and the United Tape Class’s biometric identifiers and

information, United Tape did not obtain a written release authorizing such collection. 740 ILCS

14/15(b)(3).


                                                 12
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 13 of 21 PageID #:13




       81.     Prior to disclosing Plaintiff’s and the United Tape Class’s biometric identifiers

and information, United Tape did not obtain Plaintiff’s and the United Tape Class’s informed

consent. 740 ILCS 14/15(d)(1).

       82.     While United Tape was in possession of Plaintiff’s and the United Tape Class’s

biometric identifiers and information, United Tape failed to provide a publicly available retention

schedule detailing the length of time it would maintain Plaintiff’s and the United Tape Class’s

biometrics and guidelines for permanently destroying the same. 740 ILCS 14/15(a).

       83.     Accordingly, individually and on behalf of the United Tape Class, Plaintiff

respectfully seeks an order: (a) declaring that United Tape’s actions as set forth herein violate

BIPA; (b) awarding injunctive and equitable relief as necessary to protect the United Tape Class;

(c) finding United Tape’s conduct intentional or reckless and awarding $5,000 in damages per

violation, per United Tape Class member, as authorized by 740 ILCS 14/20(2); (d) awarding

Plaintiff and the United Tape Class their reasonable attorneys’ fees, costs, and other litigation

expenses under 740 ILCS 14/20(3); (e) awarding Plaintiff and the United Tape Class pre- and

post-judgment interest; and (f) awarding such other and further relief as the Court deems

equitable and just.

                                         COUNT 5
                                         Negligence
                 Against United Tape, by Plaintiff and the United Tape Class

       84.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       85.     By capturing and collecting Plaintiff’s and the United Tape Class’s biometrics,

United Tape assumed a duty of reasonable care toward Plaintiff and the United Tape Class. That

duty required United Tape to exercise reasonable care in the capture, collection, use, and

maintenance of Plaintiff’s and the United Tape Class’s biometrics.




                                                 13
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 14 of 21 PageID #:14




        86.    Specifically, its duty of reasonable care obligated United Tape to capture,

collection, use, and maintain Plaintiff’s and the United Tape Class’s biometrics in compliance

with BIPA.

        87.    Because Plaintiff and the United Tape Class members worked at the direction of

and for the benefit of United Tape, United Tape owed them a heightened duty of care, requiring

United Tape to act carefully and not put Plaintiff and the United Tape Class at undue risk of

harm.

        88.    United Tape breached its duties to Plaintiff and the United Tape Class by failing to

implement reasonable procedural safeguards for the capture, collection, use, and maintenance of

Plaintiff’s and the United Tape Class’s biometric identifiers and biometric information.

        89.    Specifically, United Tape breached its duties to Plaintiff and the United Tape

Class by failing to inform them in writing that their biometrics were being captured, collected,

stored, and used; inform them in writing of the specific purpose for which their biometrics were

being collected, stored, and used; inform them of the length of time that their biometrics would

be maintained; and obtain a written release authorizing collection of their biometrics.

        90.    United Tape further breached its duties to Plaintiff and the United Tape Class by

failing to provide a publicly available retention schedule and guidelines for permanently

destroying their biometrics.

        91.    United Tape’s breach of its duties to Plaintiff and the United Tape Class has

directly caused and continues to cause Plaintiff mental anguish and injury. Plaintiff worries and

feels mental anguish about what United Tape will do with her biometrics, what will happen to

her biometrics if United Tape goes bankrupt, whether United Tape will ever permanently destroy

her biometrics, and whether and to whom United Tape shares her biometrics.




                                                14
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 15 of 21 PageID #:15




       92.     Accordingly, individually and on behalf of the United Tape Class, Plaintiff

respectfully seeks an order: (a) declaring United Tape’s conduct negligent; (b) awarding damages

in an amount to be proven at trial; (c) awarding punitive damages; (d) awarding pre- and post-

judgment interest; and (e) awarding such other and further relief as the Court deems equitable

and just.

                                         COUNT 6
                                 Intrusion Upon Seclusion
                 Against United Tape, by Plaintiff and the United Tape Class

       93.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       94.     By intentionally using biometric-scanning devices to capture and collect

Plaintiff’s and the United Tape Class’s fingerprints and then extracting from those fingerprints

uniquely identifying reference templates, United Tape intentionally and unlawfully intruded upon

Plaintiff’s and the United Tape Class’s private affairs and concerns.

       95.     Plaintiff and the United Tape Class members held a reasonable expectation that

their biometric identifiers and information would not be captured, collected, stored, or used by

the entity receiving the benefit of their work, and that any entity capturing, collecting, storing, or

using their biometrics would do so only with their informed consent.

       96.     A reasonable person would find it highly offensive and objectionable that an

entity receiving the benefit of their work would intrude upon their seclusion by capturing and

maintaining their biometrics without informed consent.

       97.     United Tape’s intrusion upon Plaintiff’s and the United Tape Class’s seclusion has

directly caused and continues to cause Plaintiff mental anguish and injury. Plaintiff worries and

feels mental anguish about what United Tape will do with her biometrics, what would happen to

her biometrics if United Tape went bankrupt, whether United Tape will ever permanently destroy

her biometrics, and whether and to whom United Tape shares her biometrics.


                                                  15
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 16 of 21 PageID #:16




       98.     Accordingly, individually and on behalf of the United Tape Class, Plaintiff

respectfully seeks an order: (a) declaring United Tape’s conduct to be intrusion upon seclusion;

(b) awarding damages in an amount to be proven at trial; (c) awarding punitive damages; (d)

awarding pre- and post-judgment interest; and (e) awarding such other and further relief as the

Court deems equitable and just.

                                        COUNT 7
                               Violation of 740 ILCS 14/15
              Against EasyWorkforce, by Plaintiff and the EasyWorkforce Class

       99.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       100.    EasyWorkforce is a limited liability company and is therefore a private entity. 740

ICLS 14/10.

       101.    By scanning Plaintiff’s and the EasyWorkforce Class’s fingerprints through its

biometric timeclock software, EasyWorkforce captured and collected Plaintiff’s and the

EasyWorkforce Class’s biometric identifiers. 740 ILCS 14/10.

       102.    By scanning and maintaining reference templates and associated timekeeping

information through its biometric timeclocks and accompanying software, EasyWorkforce

captured and collected Plaintiff’s and the EasyWorkforce Class’s biometric information. 740

ILCS 14/10.

       103.    Through its biometric timeclock software, EasyWorkforce collected, received

through trade, or otherwise obtained Plaintiff’s and the EasyWorkforce Class’s biometric

identifies and information.

       104.    Prior to capturing, collecting, receiving, and obtaining Plaintiff’s and the United

Tape Class’s biometric identifiers and information, EasyWorkforce did not inform Plaintiff and

the EasyWorkforce Class in writing that their biometrics were being collected, stored, and used.

740 ILCS 14/15(b)(1).


                                                 16
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 17 of 21 PageID #:17




       105.    Prior to capturing, collecting, receiving, and obtaining Plaintiff’s and the

EasyWorkforce Class’s biometric identifiers and information, EasyWorkforce did not inform

Plaintiff and the EasyWorkforce Class of the specific purpose for which their biometrics were

being collected, stored, and used. 740 ILCS 14/15(b)(2).

       106.    Prior to capturing, collecting, receiving, and obtaining Plaintiff’s and the

EasyWorkforce Class’s biometric identifiers and information, EasyWorkforce did not inform

Plaintiff and the EasyWorkforce Class of the length of time that their biometrics would be

maintained. 740 ILCS 14/15(b)(2).

       107.    Prior to capturing, collecting, receiving, and obtaining Plaintiff’s and the

EasyWorkforce Class’s biometric identifiers and information, EasyWorkforce did not obtain a

written release authorizing such collection. 740 ILCS 14/15(b)(3).

       108.    While EasyWorkforce was in possession of Plaintiff’s and the EasyWorkforce

Class’s biometric identifiers and information, EasyWorkforce failed to provide a publicly

available retention schedule detailing the length of time it would maintain Plaintiff’s and the

EasyWorkforce Class’s biometrics and guidelines for permanently destroying the same. 740

ILCS 14/15(a).

       109.    Accordingly, individually and on behalf of the EasyWorkforce Class, Plaintiff

respectfully seeks an order: (a) declaring that EasyWorkforce’s actions as set forth herein violate

BIPA; (b) awarding injunctive and equitable relief as necessary to protect the EasyWorkforce

Class; (c) finding EasyWorkforce’s conduct intentional or reckless and awarding $5,000 in

damages per violation, per EasyWorkforce Class member, as authorized by 740 ILCS 14/20(2);

(d) awarding Plaintiff and the EasyWorkforce Class their reasonable attorneys’ fees, costs, and

other litigation expenses under 740 ILCS 14/20(3); (e) awarding Plaintiff and the EasyWorkforce




                                                17
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 18 of 21 PageID #:18




Class pre- and post-judgment interest; and (f) awarding such other and further relief as the Court

deems equitable and just.

                                         COUNT 8
                                         Negligence
               Against EasyWorkforce, by Plaintiff and the EasyWorkforce Class

       110.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       111.     By capturing and collecting Plaintiff’s and the EasyWorkforce Class’s biometrics,

EasyWorkforce assumed a duty of reasonable care toward Plaintiff and the EasyWorkforce Class.

That duty required EasyWorkforce to exercise reasonable care in the capture, collection, use, and

maintenance of Plaintiff’s and the EasyWorkforce Class’s biometrics.

       112.     Specifically, its duty of reasonable care obligated EasyWorkforce to capture,

collection, use, and maintain Plaintiff’s and the EasyWorkforce Class’s biometrics in compliance

with BIPA.

       113.     EasyWorkforce breached its duties to Plaintiff and the EasyWorkforce Class by

failing to implement reasonable procedural safeguards for the capture, collection, use, and

maintenance of Plaintiff’s and the EasyWorkforce Class’s biometric identifiers and biometric

information.

       114.     Specifically, EasyWorkforce breached its duties to Plaintiff and the

EasyWorkforce Class by failing to inform them in writing that their biometrics were being

captured, collected, stored, and used; inform them in writing of the specific purpose for which

their biometrics were being collected, stored, and used; inform them of the length of time that

their biometrics would be maintained; and obtain a written release authorizing collection of their

biometrics.




                                                  18
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 19 of 21 PageID #:19




       115.    EasyWorkforce further breached its duties to Plaintiff and the EasyWorkforce

Class by failing to provide a publicly available retention schedule and guidelines for permanently

destroying their biometrics.

       116.    EasyWorkforce’s breach of its duties to Plaintiff and the EasyWorkforce Class has

directly caused and continues to cause Plaintiff mental anguish and injury. Plaintiff worries and

feels mental anguish about what EasyWorkforce will do with her biometrics, what will happen to

her biometrics if EasyWorkforce goes bankrupt, whether EasyWorkforce will ever permanently

destroy her biometrics, and whether and to whom EasyWorkforce shares her biometrics.

       117.    Accordingly, individually and on behalf of the EasyWorkforce Class, Plaintiff

respectfully seeks an order: (a) declaring EasyWorkforce’s conduct negligent; (b) awarding

damages in an amount to be proven at trial; (c) awarding punitive damages; (d) awarding pre-

and post-judgment interest; and (e) awarding such other and further relief as the Court deems

equitable and just.

                                        COUNT 9
                                Intrusion Upon Seclusion
              Against EasyWorkforce, by Plaintiff and the EasyWorkforce Class

       118.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       119.    By intentionally using biometric-scanning devices to capture and collect

Plaintiff’s and the EasyWorkforce Class’s fingerprints and then extracting from those fingerprints

uniquely identifying reference templates, EasyWorkforce intentionally and unlawfully intruded

upon Plaintiff’s and the EasyWorkforce Class’s private affairs and concerns.

       120.    Plaintiff and the EasyWorkforce Class members held a reasonable expectation

that their biometric identifiers and information would not be captured, collected, stored, or used

without their informed consent.




                                                 19
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 20 of 21 PageID #:20




       121.    A reasonable person would find it highly offensive and objectionable that a third

party would intrude upon their seclusion by capturing and maintaining their biometrics without

informed consent.

       122.    EasyWorkforce’s intrusion upon Plaintiff’s and the EasyWorkforce Class’s

seclusion has directly caused and continues to cause Plaintiff mental anguish and injury. Plaintiff

worries and feels mental anguish about what EasyWorkforce will do with her biometrics, what

will happen to her biometrics if EasyWorkforce goes bankrupt, whether EasyWorkforce will ever

permanently destroy her biometrics, and whether and to whom EasyWorkforce shares her

biometrics.

       123.    Accordingly, individually and on behalf of the EasyWorkforce Class, Plaintiff

respectfully seeks an order: (a) declaring EasyWorkforce’s conduct to be an intrusion upon

seclusion; (b) awarding damages in an amount to be proven at trial; (c) awarding punitive

damages; (d) awarding pre- and post-judgment interest; and (e) awarding such other and further

relief as the Court deems equitable and just.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the proposed Classes, respectfully

requests that this Court enter an Order:

       a.      Certifying the Classes as defined above, appointing Plaintiff as class
               representative, and appointing Plaintiff’s counsel as class counsel;

       b.      Declaring that Defendants’ actions as set forth herein violate BIPA and constitute
               negligence and intrusion upon seclusion;

       c.      Awarding injunctive and equitable relief as necessary to protect the Classes;

       d.      Finding Defendants’ conduct intentional or reckless and awarding $5,000 in
               damages per violation, per Class member under 740 ILCS 14/20(2), or, if
               Defendants’ conduct does not rise to that standard, $1,000 per violation, per Class
               member under 740 ILCS 14/20(1);



                                                20
    Case: 1:21-cv-03400 Document #: 1 Filed: 06/24/21 Page 21 of 21 PageID #:21




       e.      Awarding Plaintiff and the Classes compensatory damages in an amount to be
               proven at trial;

       f.      Awarding Plaintiff and the Classes punitive damages;

       g.      Awarding Plaintiff and the Classes their reasonable attorneys’ fees, costs, and
               other litigation expenses under 740 ILCS 14/20(3);

       h.      Awarding Plaintiff and the Classes pre- and post-judgment interest; and

       i.      Awarding such other and further relief as the Court deems equitable and just.

                                          JURY DEMAND

       Plaintiff demands a trial by jury on all claims and issues so triable.

Dated: June 24, 2021                                  Respectfully submitted,

                                                      s/ J. Dominick Larry
                                                      One of Plaintiff’s Attorneys

Thomas R. Kayes
LAW OFFICE OF THOMAS R. KAYES, LLC
2045 W. Grand Ave., Suite B, PMB 62448
Chicago, IL 60612
708.722.2241
tom@kayes.law

J. Dominick Larry
NICK LARRY LAW LLC
8 S. Michigan Ave., Suite 2600
Chicago, IL 60603
773.694.4669
nick@nicklarry.law

Attorneys for Plaintiff and the Classes




                                                 21
